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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA

ROBIN TAYLOR, individually and on              :
behalf of all others similarly situated,       : CIVIL ACTION FILE NO.
                                               :
       Plaintiff,                              :
                                               :
v.                                             : COMPLAINT – CLASS ACTION
                                               :
HEALTH INSURANCE                               :
ASSOCIATES LLC,                                : JURY TRIAL DEMANDED
                                               :
       Defendant.                              :
                                           /

      Plaintiff Robin Taylor (hereinafter referred to as “Plaintiff”), individually

and on behalf of all others similarly situated, allege on personal knowledge,

investigation of her counsel, and on information and belief, as follows:


                             NATURE OF ACTION
      1.     As the Supreme Court has explained, “Americans passionately

disagree about many things. But they are largely united in their disdain for

robocalls. The Federal Government receives a staggering number of complaints

about robocalls—3.7 million complaints in 2019 alone. The States likewise field a

constant barrage of complaints. For nearly 30 years, the people’s representatives in

Congress have been fighting back. As relevant here, the Telephone Consumer

Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell
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 phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct.

 2335, 2343 (2020).

       2.     However, the TCPA doesn’t only regulate robocalls.

       3.     This case involves a campaign by Health Insurance Associates LLC

 (“Health Insurance Associates”) to market its services through the use of pre-

 recorded telemarketing calls and by contacting numbers on the National Do Not

 Call Registry in plain violation of the Telephone Consumer Protection Act, 47

 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”).

       4.     The recipients of Health Insurance Associate’s illegal calls, which

 include Plaintiff and the proposed class, are entitled to damages under the TCPA,

 and because the technology used by Health Insurance Associates makes calls en

 masse, the appropriate vehicle for their recovery is a class action lawsuit.

                                       PARTIES

       5.     Plaintiff Robin Taylor is an individual.

       6.     Defendant Health Insurance Associates LLC is a Florida limited

 liability company located in this District.

                           JURISDICTION AND VENUE

      7.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §

1331 and 47 U.S.C. § 227 et seq.




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      8.       This Court has specific personal jurisdiction over Health Insurance

Associates because the company because it made telemarketing calls from this

District and resides here.

      9.       Venue is proper pursuant to 28 U.S.C. § 1391 because the telephone

calls at issue were sent from this District and Defendant resides here.

                              TCPA BACKGROUND

 The TCPA Prohibits Automated Telemarketing Calls

        10.    The TCPA makes it unlawful to make any call (other than a call made

 for emergency purposes or made with the prior express consent of the called party)

 using an automatic telephone dialing system or an artificial or prerecorded voice to

 any telephone number assigned to a cellular telephone service or that is charged

 per the call. See 47 U.S.C. § 227(b)(1)(A)(iii).

        11.    The TCPA provides a private cause of action to persons who receive

 calls in violation of 47 U.S.C. § 227(b)(1)(A) or 47 U.S.C. § 227(b)(1)(B). See 47

 U.S.C. § 227(b)(3).

        12.    According to findings by the Federal Communication Commission

 (“FCC”), the agency Congress vested with authority to issue regulations

 implementing the TCPA, such calls are prohibited because, as Congress found,

 automated or prerecorded telephone calls are a greater nuisance and invasion of

 privacy than live solicitation calls, and such calls can be costly and inconvenient.


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      13.    In 2013, the FCC required prior express written consent for all

autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers

and residential lines. Specifically, it ordered that:

      [A] consumer’s written consent to receive telemarketing robocalls must
      be signed and be sufficient to show that the consumer: (1) received
      “clear and conspicuous disclosure” of the consequences of providing
      the requested consent, i.e., that the consumer will receive future calls
      that deliver prerecorded messages by or on behalf of a specific seller;
      and (2) having received this information, agrees unambiguously to
      receive such calls at a telephone number the consumer designates.[] In
      addition, the written agreement must be obtained “without requiring,
      directly or indirectly, that the agreement be executed as a condition of
      purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of

1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

The National Do Not Call Registry

      14.    The TCPA prohibits making multiple telemarketing calls to a

residential telephone number that has previously been registered on the National

Do Not Call Registry. See 47 U.S.C. § 227(c)(5).

      15.    The National Do Not Call Registry allows consumers to register their

telephone numbers and thereby indicate their desire not to receive telephone

solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).

      16.    A listing on the National Do Not Call Registry “must be honored

indefinitely, or until the registration is cancelled by the consumer or the telephone

number is removed by the database administrator.” Id.

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                              FACTUAL ALLEGATIONS

      17.    Defendant Health Insurance Associates is a “person” as the term is

defined by 47 U.S.C. § 153(39).

      18.    Plaintiff’s telephone number, 941-224-XXXX, is assigned to a

cellular telephone service.

      19.    That number is used for residential purposes and is used for personal

purposes.

      20.    That number is not associated with a business.

      21.    The Plaintiff registered her number on the National Do Not Call

Registry in January of 2009.

      22.    Despite this, the Plaintiff received multiple pre-recorded calls from

the Defendant, including on February 11 and March 24, 2022.

      23.    The calls played a pre-recorded message.

      24.    The pre-recorded message mentioned open enrollment and inquired if

the call recipient was looking for health insurance.

      25.    The same pre-recorded message was sent for both calls.

      26.    The pre-recorded message did not identify the caller.

      27.    The plaintiff responded to the recorded message on March 24, 2022 in

the manner directed to be connected with a person and identify who was calling.


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        28.   The Plaintiff then spoke with a “John Kelly”.

        29.   Mr. Kelly promoted the Defendant’s health insurance services on the

call.

        30.   Mr. Kelly identified his company was the Defendant and provided the

Defendant’s website, medicareinsurance.com.

        31.   Mr. Kelly then provided a call back number of 888-545-5909.

        32.   That is the Defendant’s number.

        33.   The calls were not necessitated by an emergency.

        34.   Plaintiff and all members of the Class, defined below, have been

harmed by the acts of Defendant because their privacy has been violated and they

were annoyed and harassed. Plaintiff and the Class Members were also harmed by

use of their telephone power and network bandwidth and the intrusion on their

telephone that occupied it from receiving legitimate communications.


                        CLASS ACTION ALLEGATIONS

        35.   Plaintiff brings this action on behalf of herself and the following class

(the “Class”) pursuant to Federal Rule of Civil Procedure 23(b)(2) and 23(b)(3).

        36.   Plaintiff proposes the following Class definitions, subject to

amendment as appropriate:

        Robocall Class: All persons within the United States: (1) to whose cellular
        telephone number or other number for which they are charged for the call (2)
        Defendant (or an agent acting on behalf of Defendant) placed a call (3)

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      within the four years prior to the filing of the Complaint through trial (4)
      using an identical or substantially similar pre-recorded message used to
      place telephone calls to Plaintiff.

      National DNC Class: All persons in the United States whose (1) telephone
      numbers were on the National Do Not Call Registry for at least 31 days, (2)
      but who received more than one telemarketing call from or on behalf of
      Defendant encouraging the purchase of their goods or services, (3) within a
      12-month period (4) at any time in the period that begins four years before
      the date of filing this Complaint to trial.

      37.    Plaintiff is a member of and will fairly and adequately represent and

protect the interests of this classes as Plaintiff has no interests that conflict with

any of the class members.

      38.    Excluded from the Classes are counsel, the Defendant, and any

entities in which the Defendant has a controlling interest, the Defendant’s agents

and employees, any judge to whom this action is assigned, and any member of

such judge’s staff and immediate family.

      39.    Plaintiff and all members of the Classes have been harmed by the acts

of the Defendant, including, but not limited to, the invasion of their privacy,

annoyance, waste of time, the use of their telephone power and network bandwidth,

and the intrusion on their telephone that occupied it from receiving legitimate

communications.

      40.    This Class Action Complaint seeks injunctive relief and money

damages.



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         41.   The Classes as defined above are identifiable through the Defendant’s

dialer records, other phone records, and phone number databases.

         42.   Plaintiff does not know the exact number of members in the Classes,

but Plaintiff reasonably believes Class members number, at minimum, in the

hundreds based on the fact that recorded messages were used to send the calls and

other individuals have lodged complaints about the receipt of the calls.

         43.   The joinder of all Class members is impracticable due to the size of the

Classes and relatively modest value of each individual claim.

         44.   Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits.

         45.   There are numerous questions of law and fact common to Plaintiff and

to the proposed Classes, including but not limited to the following:

               (a) Whether the Defendant used pre-recorded message to send
                   telemarketing calls;

               (b) Whether the Defendant contacted numbers on the National Do Not
                   Call Registry;

               (c) whether Defendant made calls to Plaintiff and members of the
                   Classes without first obtaining prior express written consent to
                   make the calls;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA;
                   and



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             (e) whether members of the Classes are entitled to treble damages
                 based on the willfulness of Defendant’s conduct.

      46.    Further, Plaintiff will fairly and adequately represent and protect the

interests of the Classes. Plaintiff has no interests which are antagonistic to any

member of the Classes.

      47.    Plaintiff has retained counsel with substantial experience in

prosecuting complex litigation and class actions, and especially TCPA class

actions. Plaintiff and Plaintiff’s counsel are committed to vigorously prosecuting

this action on behalf of the other members of the Classes, and have the financial

resources to do so.

      48.    Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.

      49.    The likelihood that individual members of the Classes will prosecute

separate actions is remote due to the time and expense necessary to prosecute an

individual case.




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                          FIRST CAUSE OF ACTION
              Violation of the Telephone Consumer Protection Act
                 47 U.S.C. 227(b) on behalf of the Robocall Class

      50.    Plaintiff incorporates the allegations from paragraphs 1-49 as if fully

set forth herein.

      51.    The foregoing acts and omissions of Defendant and/or their affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227, by making calls,

except for emergency purposes, to the cellular telephone numbers of Plaintiff and

members of the Class delivering pre-recorded messages.

      52.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA, 47

U.S.C. § 227, Plaintiff and members of the Class presumptively are entitled to an

award of $500 in damages for each and every call made to their residential or

cellular telephone numbers using an artificial or prerecorded voice in violation of

the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

      53.    If the Defendant’s conduct is found to be knowing or willful, the

Plaintiff and members of the Class are entitled to an award of up to treble damages.

      54.    Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from violating the TCPA, 47


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U.S.C. § 227, by making calls, except for emergency purposes, to any cellular

telephone numbers using an artificial or prerecorded voice in the future.

                        SECOND CAUSE OF ACTION
              Violation of the Telephone Consumer Protection Act
                  47 U.S.C. 227(c) on behalf of the Robocall Class

      55.    Plaintiff incorporates the allegations from paragraphs 1-49 as if fully

set forth herein.

      56.    It is a violation of the TCPA to initiate any telephone solicitation to a

residential telephone subscriber who has registered his or her telephone number on

the National Do Not Call Registry. 47 C.F.R. 64.1200(c)(2).

      57.    Defendant and/or its affiliates, agents, and/or other persons or entities

acting on Defendant’s behalf violated the TCPA by causing multiple telephone

solicitation calls to be initiated to Plaintiff and members of the National DNC

Class in a 12-month period, despite the person’s registration of his or her telephone

numbers on the National Do Not Call Registry.

      58.    As a result of Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA’s

national do-not-call rule, Plaintiff and members of the National DNC Class are

each entitled to an injunction and up to $500 in damages for each such violation.

47 U.S.C. § 227(c)(5).




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      59.    Because such violations were willful or knowing, the Court should

treble the amount of statutory damages, pursuant to 47 U.S.C. § 227(c)(5).

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays

for the following relief:

      A.     Injunctive relief prohibiting Defendant from calling telephone

numbers advertising their goods or services, except for emergency purposes, using

a pre-record message or to numbers on the National Do Not Call Registry in the

future;

      B.     That the Court enter a judgment awarding Plaintiff and all class

members statutory damages of $500 for each violation of the TCPA and $1,500 for

each knowing or willful violation; and

      C.     An order certifying this action to be a proper class action pursuant to

Federal Rule of Civil Procedure 23, establishing Classes the Court deems

appropriate, finding that Plaintiff is a proper representative of the Classes, and

appointing the lawyers and law firms representing Plaintiff as counsel for the

Classes;

      D.     Such other relief as the Court deems just and proper.




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                                 JURY DEMAND

      Plaintiff requests a jury trial as to all claims of the complaint so triable.

Dated: August 30, 2022           PLAINTIFF, on behalf of herself
                                 and others similarly situated,

                                 /s/ Avi R. Kaufman
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